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                    EXHIBIT 5
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   Democracy Dies in Darkness



Here’s the full transcript and audio of the call between
Trump and Raffensperger
By Amy Gardner and Paulina Firozi

Jan. 3, 2021 at 4:15 p.m. EST


About 3 p.m. Saturday, President Trump held an hour-long call with Brad Raffensperger, Georgia’s secretary of
state, in which he repeatedly urged him to alter the outcome of the presidential vote in the state. He was joined on the
call by White House Chief of Staff Mark Meadows and several lawyers, including longtime conservative attorney
Cleta Mitchell and Georgia-based attorney Kurt Hilbert. Raffensperger was joined by his office’s general counsel,
Ryan Germany, and Deputy Secretary of State Jordan Fuchs.

The Washington Post obtained a copy of a recording of the call. This transcript has been edited to remove the name
of an individual about whom Trump makes unsubstantiated claims.

Meadows: Okay. Alright. Mr. President, everyone is on the line. This is Mark Meadows, the chief of staff. Just so we
all are aware. On the line is secretary of state and two other individuals. Jordan and Mr. Germany with him. You also
have the attorneys that represent the president, Kurt and Alex and Cleta Mitchell — who is not the attorney of record
but has been involved — myself and then the president. So Mr. President, I’ll turn it over to you.

Trump: Okay, thank you very much. Hello Brad and Ryan and everybody. We appreciate the time and the call. So
we’ve spent a lot of time on this, and if we could just go over some of the numbers, I think it’s pretty clear that we won.
We won very substantially in Georgia. You even see it by rally size, frankly. We’d be getting 25-30,000 people a rally,
and the competition would get less than 100 people. And it never made sense.

But we have a number of things. We have at least 2 or 3 — anywhere from 250 to 300,000 ballots were dropped
mysteriously into the rolls. Much of that had to do with Fulton County, which hasn’t been checked. We think that if you
check the signatures — a real check of the signatures going back in Fulton County — you’ll find at least a couple of
hundred thousand of forged signatures of people who have been forged. And we are quite sure that’s going to happen.




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Another tremendous number. We’re going to have an accurate number over the next two days with certified
accountants. But an accurate number will be given, but it’s in the 50s of thousands — and that’s people that went to
vote and they were told they can’t vote because they’ve already been voted for. And it’s a very sad thing. They walked
out complaining. But the number’s large. We’ll have it for you. But it’s much more than the number of 11,779 that’s —
the current margin is only 11,779. Brad, I think you agree with that, right? That’s something I think everyone — at least
that’s a number that everyone agrees on.

But that’s the difference in the votes. But we’ve had hundreds of thousands of ballots that we’re able to actually — we’ll
get you a pretty accurate number. You don’t need much of a number because the number that in theory I lost by, the
margin would be 11,779. But you also have a substantial numbers of people, thousands and thousands, who went to the
voting place on November 3, were told they couldn’t vote, were told they couldn’t vote because a ballot had been put on
their name. And you know that’s very, very, very, very sad.

We had, I believe it’s about 4,502 voters who voted but who weren’t on the voter registration list, so it’s 4,502 who
voted, but they weren’t on the voter registration roll, which they had to be. You had 18,325 vacant address voters. The
address was vacant, and they’re not allowed to be counted. That’s 18,325.

Smaller number — you had 904 who only voted where they had just a P.O. — a post office box number — and they had
a post office box number, and that’s not allowed. We had at least 18,000 — that’s on tape, we had them counted very
painstakingly — 18,000 voters having to do with [name]. She’s a vote scammer, a professional vote scammer and
hustler [name]. That was the tape that’s been shown all over the world that makes everybody look bad, you, me and
everybody else.

Where they got — number one they said very clearly and it’s been reported that they said there was a major water main
break. Everybody fled the area. And then they came back, [name] and her daughter and a few people. There were no
Republican poll watchers. Actually, there were no Democrat poll watchers, I guess they were them. But there were no
Democrats, either, and there was no law enforcement. Late in the morning, early in the morning, they went to the table
with the black robe and the black shield, and they pulled out the votes. Those votes were put there a number of hours
before — the table was put there — I think it was, Brad, you would know, it was probably eight hours or seven hours
before, and then it was stuffed with votes.

They weren’t in an official voter box; they were in what looked to be suitcases or trunks, suitcases, but they weren’t in
voter boxes. The minimum number it could be because we watched it, and they watched it certified in slow motion
instant replay if you can believe it, but slow motion, and it was magnified many times over, and the minimum it was
18,000 ballots, all for Biden.

You had out-of-state voters. They voted in Georgia, but they were from out of state, of 4,925. You had absentee ballots
sent to vacant, they were absentee ballots sent to vacant addresses. They had nothing on them about addresses, that’s
2,326.

And you had dropboxes, which is very bad. You had dropboxes that were picked up. We have photographs, and we
have affidavits from many people.



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I don’t know if you saw the hearings, but you have dropboxes where the box was picked up but not delivered for three
days. So all sorts of things could have happened to that box, including, you know, putting in the votes that you wanted.
So there were many infractions, and the bottom line is, many, many times the 11,779 margin that they said we lost by —
we had vast, I mean the state is in turmoil over this.

And I know you would like to get to the bottom of it, although I saw you on television today, and you said that you
found nothing wrong. I mean, you know, and I didn’t lose the state, Brad. People have been saying that it was the
highest vote ever. There was no way. A lot of the political people said that there’s no way they beat me. And they beat
me. They beat me in the . . . As you know, every single state, we won every state. We won every statehouse in the
country. We held the Senate, which is shocking to people, although we’ll see what happens tomorrow or in a few days.

And we won the House, but we won every single statehouse, and we won Congress, which was supposed to lose 15
seats, and they gained, I think 16 or 17 or something. I think there’s a now difference of five. There was supposed to be
a difference substantially more. But politicians in every state, but politicians in Georgia have given affidavits and are
going to that, that there was no way that they beat me in the election, that the people came out, in fact, they were
expecting to lose, and then they ended up winning by a lot because of the coattails. And they said there’s no way, that
they’ve done many polls prior to the election, that there was no way that they won.

Ballots were dropped in massive numbers. And we’re trying to get to those numbers and we will have them.

They’ll take a period of time. Certified. But but they’re massive numbers. And far greater than the 11,779.

The other thing, dead people. So dead people voted, and I think the number is close to 5,000 people. And they went to
obituaries. They went to all sorts of methods to come up with an accurate number, and a minimum is close to about
5,000 voters.

The bottom line is, when you add it all up and then you start adding, you know, 300,000 fake ballots. Then the other
thing they said is in Fulton County and other areas. And this may or may not be true . . . this just came up this morning,
that they are burning their ballots, that they are shredding, shredding ballots and removing equipment. They’re
changing the equipment on the Dominion machines and, you know, that’s not legal.

And they supposedly shredded I think they said 300 pounds of, 3,000 pounds of ballots. And that just came to us as a
report today. And it is a very sad situation.

But Brad, if you took the minimum numbers where many, many times above the 11,779, and many of those numbers
are certified, or they will be certified, but they are certified. And those are numbers that are there, that exist. And that
beat the margin of loss, they beat it, I mean, by a lot, and people should be happy to have an accurate count instead of
an election where there’s turmoil.

I mean there’s turmoil in Georgia and other places. You’re not the only one, I mean, we have other states that I believe
will be flipping to us very shortly. And this is something that — you know, as an example, I think it in Detroit, I think
there’s a section, a good section of your state actually, which we’re not sure so we’re not going to report it yet. But in
Detroit, we had, I think it was, 139 percent of the people voted. That’s not too good.



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In Pennsylvania, they had well over 200,000 more votes than they had people voting. And that doesn’t play too well,
and the legislature there is, which is Republican, is extremely activist and angry. I mean, there were other things also
that were almost as bad as that. But they had as an example, in Michigan, a tremendous number of dead people that
voted. I think it was, I think, Mark, it was 18,000. Some unbelievably high number, much higher than yours, you were
in the 4-5,000 category.

And that was checked out laboriously by going through, by going through the obituary columns in the newspapers.

So I guess with all of it being said, Brad, the bottom line, and provisional ballots, again, you know, you’ll have to tell me
about the provisional ballots, but we have a lot of people that were complaining that they weren’t able to vote because
they were already voted for. These are great people.

And, you know, they were shellshocked. I don’t know if you call that provisional ballots. In some states, we had a lot of
provisional ballot situations where people were given a provisional ballot because when they walked in on November 3
and they were already voted for.

So that’s it. I mean, we have many, many times the number of votes necessary to win the state. And we won the state,
and we won it very substantially and easily, and we’re getting, we have, much of this is a very certified, far more
certified than we need. But we’re getting additional numbers certified, too. And we’re getting pictures of dropboxes
being delivered and delivered late. Delivered three days later, in some cases, plus we have many affidavits to that
effect.

Meadows: So, Mr. President, if I might be able to jump in, and I’ll give Brad a chance. Mr. Secretary, obviously there
is, there are allegations where we believe that not every vote or fair vote and legal vote was counted, and that’s at odds
with the representation from the secretary of state’s office.

What I’m hopeful for is there some way that we can, we can find some kind of agreement to look at this a little bit more
fully? You know the president mentioned Fulton County.

But in some of these areas where there seems to be a difference of where the facts seem to lead, and so Mr. Secretary, I
was hopeful that, you know, in the spirit of cooperation and compromise, is there something that we can at least have a
discussion to look at some of these allegations to find a path forward that’s less litigious?

Raffensperger: Well, I listened to what the president has just said. President Trump, we’ve had several lawsuits, and
we’ve had to respond in court to the lawsuits and the contentions. We don’t agree that you have won. And we don’t — I
didn’t agree about the 200,000 number that you’d mentioned. I’ll go through that point by point.

What we have done is we gave our state Senate about one and a half hours of our time going through the election issue
by issue and then on the state House, the government affairs committee, we gave them about two and a half hours of
our time, going back point by point on all the issues of contention. And then just a few days ago, we met with our U.S.
congressmen, Republican congressmen, and we gave them about two hours of our time talking about this past election.
Going back, primarily what you’ve talked about here focused in on primarily, I believe, is the absentee ballot process. I
don’t believe that you’re really questioning the Dominion machines. Because we did a hand re-tally, a 100 percent re-
tally of all the ballots, and compared them to what the machines said and came up with virtually the same result. Then
we did the recount, and we got virtually the same result. So I guess we can probably take that off the table.
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I don’t think there’s an issue about that.

Trump: Well, Brad. Not that there’s not an issue, because we have a big issue with Dominion in other states and
perhaps in yours. But we haven’t felt we needed to go there. And just to, you know, maybe put a little different spin on
what Mark is saying, Mark Meadows, yeah we’d like to go further, but we don’t really need to. We have all the votes we
need.

You know, we won the state. If you took, these are the most minimal numbers, the numbers that I gave you, those are
numbers that are certified, your absentee ballots sent to vacant addresses, your out-of-state voters, 4,925. You know
when you add them up, it’s many more times, it’s many times the 11,779 number. So we could go through, we have not
gone through your Dominion. So we can’t give them blessing. I mean, in other states, we think we found tremendous
corruption with Dominion machines, but we’ll have to see.

But we only lost the state by that number, 11,000 votes, and 779. So with that being said, with just what we have, with
just what we have, we’re giving you minimal, minimal numbers. We’re doing the most conservative numbers possible;
we’re many times, many, many times above the margin. And so we don’t really have to, Mark, I don’t think we have to
go through . . .

Meadows: Right

Trump: Because what’s the difference between winning the election by two votes and winning it by half a million
votes. I think I probably did win it by half a million. You know, one of the things that happened, Brad, is we have other
people coming in now from Alabama and from South Carolina and from other states, and they’re saying it’s impossible
for you to have lost Georgia. We won. You know in Alabama, we set a record, got the highest vote ever. In Georgia, we
set a record with a massive amount of votes. And they say it’s not possible to have lost Georgia.

And I could tell you by our rallies. I could tell you by the rally I’m having on Monday night, the place, they already have
lines of people standing out front waiting. It’s just not possible to have lost Georgia. It’s not possible. When I heard it
was close, I said there’s no way. But they dropped a lot of votes in there late at night. You know that, Brad. And that’s
what we are working on very, very stringently. But regardless of those votes, with all of it being said, we lost by
essentially 11,000 votes, and we have many more votes already calculated and certified, too.

And so I just don’t know, you know, Mark, I don’t know what’s the purpose. I won’t give Dominion a pass because we
found too many bad things. But we don’t need Dominion or anything else. We have won this election in Georgia based
on all of this. And there’s nothing wrong with saying that, Brad. You know, I mean, having the correct — the people of
Georgia are angry. And these numbers are going to be repeated on Monday night. Along with others that we’re going to
have by that time, which are much more substantial even. And the people of Georgia are angry, the people of the
country are angry. And there’s nothing wrong with saying that, you know, that you’ve recalculated. Because the 2,236
in absentee ballots. I mean, they’re all exact numbers that were done by accounting firms, law firms, etc. And even if
you cut ’em in half, cut ’em in half and cut ’em in half again, it’s more votes than we need.

Raffensperger: Well, Mr. President, the challenge that you have is the data you have is wrong. We talked to the
congressmen, and they were surprised.


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But they — I guess there was a person named Mr. Braynard who came to these meetings and presented data, and he
said that there was dead people, I believe it was upward of 5,000. The actual number were two. Two. Two people that
were dead that voted. So that’s wrong.

Trump: Well, Cleta, how do you respond to that? Maybe you tell me?

Mitchell: Well, I would say, Mr. Secretary, one of the things that we have requested and what we said was, if you look,
if you read our petition, it said that we took the names and birth years, and we had certain information available to us.
We have asked from your office for records that only you have, and so we said there is a universe of people who have
the same name and same birth year and died.

But we don’t have the records that you have. And one of the things that we have been suggesting formally and
informally for weeks now is for you to make available to us the records that would be necessary —

Trump: But, Cleta, even before you do that, and not even including that, that’s why I hardly even included that
number, although in one state, we have a tremendous amount of dead people. So I don’t know — I’m sure we do in
Georgia, too. I’m sure we do in Georgia, too.

But we’re so far ahead. We’re so far ahead of these numbers, even the phony ballots of [name] , known scammer. You
know the Internet? You know what was trending on the Internet? “Where’s [name]?” Because they thought she’d be in
jail. “Where’s [name]?” It’s crazy, it’s crazy. That was. The minimum number is 18,000 for [name] , but they think it’s
probably about 56,000, but the minimum number is 18,000 on the [name] night where she ran back in there when
everybody was gone and stuffed, she stuffed the ballot boxes. Let’s face it, Brad, I mean. They did it in slow motion
replay magnified, right? She stuffed the ballot boxes. They were stuffed like nobody has ever seen them stuffed before.

So there’s a term for it when it’s a machine instead of a ballot box, but she stuffed the machine. She stuffed the ballot.
Each ballot went three times, they were showing: Here’s ballot No 1. Here it is a second time, third time, next ballot.

I mean, look. Brad. We have a new tape that we’re going to release. It’s devastating. And by the way, that one event,
that one event is much more than the 11,000 votes that we’re talking about. It’s, you know, that one event was a
disaster. And it’s just, you know, but it was, it was something, it can’t be disputed. And again, we have a version that
you haven’t seen, but it’s magnified. It’s magnified, and you can see everything. For some reason, they put it in three
times, each ballot, and I don’t know why. I don’t know why three times. Why not five times, right? Go ahead.

Raffensperger: You’re talking about the State Farm video. And I think it’s extremely unfortunate that Rudy Giuliani
or his people, they sliced and diced that video and took it out of context. The next day, we brought in WSB-TV, and we
let them show, see the full run of tape, and what you’ll see, the events that transpired are nowhere near what was
projected by, you know —

Trump: But where were the poll watchers, Brad? There were no poll watchers there. There were no Democrats or
Republicans. There was no security there.




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It was late in the evening, late in the, early in the morning, and there was nobody else in the room. Where were the poll
watchers, and why did they say a water main broke, which they did and which was reported in the newspapers? They
said they left. They ran out because of a water main break, and there was no water main. There was nothing. There was
no break. There was no water main break. But we’re, if you take out everything, where were the Republican poll
watchers, even where were the Democrat pollwatchers, because there were none.

And then you say, well, they left their station, you know, if you look at the tape, and this was, this was reviewed by
professional police and detectives and other people, when they left in a rush, everybody left in a rush because of the
water main, but everybody left in a rush. These people left their station.

When they came back, they didn’t go to their station. They went to the apron, wrapped around the table, under which
were thousands and thousands of ballots in a box that was not an official or a sealed box. And then they took those.
They went back to a different station. So if they would have come back, they would have walked to their station, and
they would have continued to work. But they couldn’t do even that because that’s illegal, because they had no
Republican pollwatchers. And remember, her reputation is — she’s known all over the Internet, Brad. She’s known all
over.

I’m telling you, “Where’s [name] ” was one of the hot items . . . [name] They knew her. “Where’s [name]?” So Brad,
there can be no justification for that. And I, you know, I give everybody the benefit of the doubt. But that was — and
Brad, why did they put the votes in three times? You know, they put ’em in three times.

Raffensperger: Mr. President, they did not put that. We did an audit of that, and we proved conclusively that they
were not scanned three times.

Trump: Where was everybody else at that late time in the morning? Where was everybody? Where were the
Republicans? Where were the security guards? Were the people that were there just a little while before when everyone
ran out of the room. How come we had no security in the room. Why did they run to the bottom of the table? Why do
they run there and just open the skirt and rip out the votes. I mean, Brad. And they were sitting there, I think for five
hours or something like that, the votes.

Raffensperger: Mr. President, we’ll send you the link from WSB.

Trump: I don’t care about the link. I don’t need it. Brad, I have a much better —

Mitchell: I will tell you. I’ve seen the tape. The full tape. So has Alex. We’ve watched it. And what we saw and what
we’ve confirmed in the timing is that they made everybody leave — we have sworn affidavits saying that. And then they
began to process ballots. And our estimate is that there were roughly 18,000 ballots. We don’t know that. If you know
that . . .

Trump: It was 18,000 ballots, but they used each one three times.

Mitchell: Well, I don’t know about that.

Trump: I do think we had ours magnified out.

Mitchell: I’ve watched the entire tape.

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Trump: Nobody can make a case for that, Brad. Nobody. I mean, look, you’d have to be a child to think anything other
than that. Just a child.

Mitchell: How many ballots, Mr. Secretary, are you saying were processed then?

Raffensperger: We had GBI . . . investigate that.

Germany: We had our — this is Ryan Germany. We had our law enforcement officers talk to everyone who was, who
was there after that event came to light. GBI was with them as well as FBI agents.

Trump: Well, there’s no way they could — then they’re incompetent. They’re either dishonest or incompetent, okay?

Mitchell: Well, what did they find?

Trump: There’s only two answers, dishonesty or incompetence. There’s just no way. Look. There’s no way. And on the
other thing, I said too, there is no way. I mean, there’s no way that these things could have been, you know, you have
all these different people that voted, but they don’t live in Georgia anymore. What was that number, Cleta? That was a
pretty good number, too.

Mitchell: The number who have registered out of state after they moved from Georgia. And so they had a date when
they moved from Georgia, they registered to vote out of state, and then it’s like 4,500, I don’t have that number right in
front of me.

Trump: And then they came back in, and they voted.

Mitchell: And voted. Yeah.

Trump: I thought that was a large number, though. It was in the 20s.

Germany: We’ve been going through each of those as well, and those numbers that we got, that Ms. Mitchell was just
saying, they’re not accurate. Every one we’ve been through are people that lived in Georgia, moved to a different state,
but then moved back to Georgia legitimately. And in many cases —

Trump: How may people do that? They moved out, and then they said, “Ah, to hell with it, I’ll move back.” You know,
it doesn’t sound like a very normal . . . you mean, they moved out, and what, they missed it so much that they wanted to
move back in? It’s crazy.

Germany: They moved back in years ago. This was not like something just before the election. So there’s something
about that data that, it’s just not accurate.

Trump: Well, I don’t know, all I know is that it is certified. And they moved out of Georgia, and they voted. It didn’t
say they moved back in, Cleta, did it?

Mitchell: No, but I mean, we’re looking at the voter registration. Again, if you have additional records, we’ve been
asking for that, but you haven’t shared any of that with us. You just keep saying you investigated the allegations.

Trump: Cleta, a lot of it you don’t need to be shared. I mean, to be honest, they should share it. They should share it
because you want to get to an honest election.

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I won this election by hundreds of thousands of votes. There’s no way I lost Georgia. There’s no way. We won by
hundreds of thousands of votes. I’m just going by small numbers, when you add them up, they’re many times the
11,000. But I won that state by hundreds of thousands of votes.

Do you think it’s possible that they shredded ballots in Fulton County? Because that’s what the rumor is. And also that
Dominion took out machines. That Dominion is really moving fast to get rid of their, uh, machinery.

Do you know anything about that? Because that’s illegal, right?

Germany: This is Ryan Germany. No, Dominion has not moved any machinery out of Fulton County.

Trump: But have they moved the inner parts of the machines and replaced them with other parts?

Germany: No.

Trump: Are you sure, Ryan?

Germany: I’m sure. I’m sure, Mr. President.

Trump: What about, what about the ballots. The shredding of the ballots. Have they been shredding ballots?

Germany: The only investigation that we have into that — they have not been shredding any ballots. There was an
issue in Cobb County where they were doing normal office shredding, getting rid of old stuff, and we investigated that.
But this stuff from, you know, from you know past elections.

Trump: It doesn’t pass the smell test because we hear they’re shredding thousands and thousands of ballots, and now
what they’re saying, “Oh, we’re just cleaning up the office.” You know.

Raffensperger: Mr. President, the problem you have with social media, they — people can say anything.

Trump: Oh this isn’t social media. This is Trump media. It’s not social media. It’s really not; it’s not social media. I
don’t care about social media. I couldn’t care less. Social media is Big Tech. Big Tech is on your side, you know. I don’t
even know why you have a side because you should want to have an accurate election. And you’re a Republican.

Raffensperger: We believe that we do have an accurate election.

Trump: No, no you don’t. No, no you don’t. You don’t have. Not even close. You’re off by hundreds of thousands of
votes. And just on the small numbers, you’re off on these numbers, and these numbers can’t be just — well, why wont?
— Okay. So you sent us into Cobb County for signature verification, right? You sent us into Cobb County, which we
didn’t want to go into. And you said it would be open to the public. So we had our experts there, they weren’t allowed
into the room. But we didn’t want Cobb County. We wanted Fulton County. And you wouldn’t give it to us. Now, why
aren’t we doing signature — and why can’t it be open to the public?

And why can’t we have professionals do it instead of rank amateurs who will never find anything and don’t want to find
anything? They don’t want to find, you know they don’t want to find anything. Someday you’ll tell me the reason why,
because I don’t understand your reasoning, but someday you’ll tell me the reason why. But why don’t you want to find?

Germany: Mr. President, we chose Cobb County —

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Trump: Why don’t you want to find . . . What?

Germany: Sorry, go ahead.

Trump: So why did you do Cobb County? We didn’t even request — we requested Fulton County, not Cobb County.
Go ahead, please. Go ahead.

Germany: We chose Cobb County because that was the only county where there’s been any evidence submitted that
the signature verification was not properly done.

Trump: No, but I told you. We’re not, we’re not saying that.

Mitchell: We did say that.

Trump: Fulton County. Look. Stacey, in my opinion, Stacey is as dishonest as they come. She has outplayed you . . . at
everything. She got you to sign a totally unconstitutional agreement, which is a disastrous agreement. You can’t check
signatures. I can’t imagine you’re allowed to do harvesting, I guess, in that agreement. That agreement is a disaster for
this country. But she got you somehow to sign that thing, and she has outsmarted you at every step.

And I hate to imagine what’s going to happen on Monday or Tuesday, but it’s very scary to people. You know, when the
ballots flow in out of nowhere. It’s very scary to people. That consent decree is a disaster. It’s a disaster. A very good
lawyer who examined it said they’ve never seen anything like it.

Raffensperger: Harvesting is still illegal in the state of Georgia. And that settlement agreement did not change that
one iota.

Trump: It’s not a settlement agreement, it’s a consent decree. It even says consent decree on it, doesn’t it? It uses the
term consent decree. It doesn’t say settlement agreement. It’s a consent decree. It’s a disaster.

Raffensperger: It’s a settlement agreement.

Trump: What’s written on top of it?

Raffensperger: Ryan?

Germany: I don’t have it in front of me, but it was not entered by the court, it’s not a court order.

Trump: But Ryan, it’s called a consent decree, is that right? On the paper. Is that right?

Germany: I don’t. I don’t. I don’t believe so, but I don’t have it in front of me.

Trump: Okay, whatever, it’s a disaster. It’s a disaster. Look. Here’s the problem. We can go through signature
verification, and we’ll find hundreds of thousands of signatures, if you let us do it. And the only way you can do it, as
you know, is to go to the past. But you didn’t do that in Cobb County. You just looked at one page compared to another.
The only way you can do a signature verification is go from the one that signed it on November whatever. Recently.
And compare it to two years ago, four years ago, six years ago, you know, or even one. And you’ll find that you have
many different signatures. But in Fulton, where they dumped ballots, you will find that you have many that aren’t even
signed and you have many that are forgeries.

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Okay, you know that. You know that. You have no doubt about that. And you will find you will be at 11,779 within
minutes because Fulton County is totally corrupt, and so is she totally corrupt.

And they’re going around playing you and laughing at you behind your back, Brad, whether you know it or not, they’re
laughing at you. And you’ve taken a state that’s a Republican state, and you’ve made it almost impossible for a
Republican to win because of cheating, because they cheated like nobody’s ever cheated before. And I don’t care how
long it takes me, you know, we’re going to have other states coming forward — pretty good.

But I won’t . . . this is never . . . this is . . . We have some incredible talent said they’ve never seen anything . . . Now the
problem is they need more time for the big numbers. But they’re very substantial numbers. But I think you’re going to
find that they — by the way, a little information — I think you’re going to find that they are shredding ballots because
they have to get rid of the ballots because the ballots are unsigned. The ballots are corrupt, and they’re brand new, and
they don’t have seals, and there’s a whole thing with the ballots. But the ballots are corrupt.

And you are going to find that they are — which is totally illegal — it is more illegal for you than it is for them because,
you know, what they did and you’re not reporting it. That’s a criminal, that’s a criminal offense. And you can’t let that
happen. That’s a big risk to you and to Ryan, your lawyer. And that’s a big risk. But they are shredding ballots, in my
opinion, based on what I’ve heard. And they are removing machinery, and they’re moving it as fast as they can, both of
which are criminal finds. And you can’t let it happen, and you are letting it happen. You know, I mean, I’m notifying
you that you’re letting it happen. So look. All I want to do is this. I just want to find 11,780 votes, which is one more
than we have because we won the state.

And flipping the state is a great testament to our country because, you know, this is — it’s a testament that they can
admit to a mistake or whatever you want to call it. If it was a mistake, I don’t know. A lot of people think it wasn’t a
mistake. It was much more criminal than that. But it’s a big problem in Georgia, and it’s not a problem that’s going
away. I mean, you know, it’s not a problem that’s going away.

Germany: This is Ryan. We’re looking into every one of those things that you mentioned.

Trump: Good. But if you find it, you’ve got to say it, Ryan.

Germany: . . . Let me tell you what we are seeing. What we’re seeing is not at all what you’re describing. These are
investigators from our office, these are investigators from GBI, and they’re looking, and they’re good. And that’s not
what they’re seeing. And we’ll keep looking, at all these things.

Trump: Well, you better check on the ballots because they are shredding ballots, Ryan. I’m just telling you, Ryan.
They’re shredding ballots. And you should look at that very carefully. Because that’s so illegal. You know, you may not
even believe it because it’s so bad. But they’re shredding ballots because they think we’re going to eventually get there
. . . because we’ll eventually get into Fulton. In my opinion, it’s never too late. . . . So, that’s the story. Look, we need
only 11,000 votes. We have are far more than that as it stands now. We’ll have more and more. And . . . do you have
provisional ballots at all, Brad? Provisional ballots?

Raffensperger: Provisional ballots are allowed by state law.



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Trump: Sure, but I mean, are they counted, or did you just hold them back because they, you know, in other words,
how many provisional ballots do you have in the state?

Raffensperger: We’ll get you that number.

Trump: Because most of them are made out to the name Trump. Because these are people that were scammed when
they came in. And we have thousands of people that have testified or that want to testify. When they came in, they were
proudly going to vote on November 3. And they were told, “I’m sorry, you’ve already been voted for, you’ve already
voted.” The women, men started screaming, “No. I proudly voted till November 3.” They said, “I’m sorry, but you’ve
already been voted for, and you have a ballot.” And these people are beside themselves. So they went out, and they
filled in a provisional ballot, putting the name Trump on it.

And what about that batch of military ballots that came in. And even though I won the military by a lot, it was 100
percent Trump. I mean 100 percent Biden. Do you know about that? A large group of ballots came in, I think it was to
Fulton County, and they just happened to be 100 percent for Trump — for Biden — even though Trump won the
military by a lot, you know, a tremendous amount. But these ballots were 100 percent for Biden. And do you know
about that? A very substantial number came in, all for Biden. Does anybody know about it?

Mitchell: I know about it, but —

Trump: Okay, Cleta, I’m not asking you, Cleta, honestly. I’m asking Brad. Do you know about the military ballots that
we have confirmed now. Do you know about the military ballots that came in that were 100 percent, I mean 100
percent, for Biden. Do you know about that?

Germany: I don’t know about that. I do know that we have, when military ballots come in, it’s not just military, it’s
also military and overseas citizens. The military part of that does generally go Republican. The overseas citizen part of
it generally goes very Democrat. This was a mix of ’em.

Trump: No, but this was. That’s okay. But I got like 78 percent of the military. These ballots were all for . . . They
didn’t tell me overseas. Could be overseas, too, but I get votes overseas, too, Ryan, in all fairness. No they came in, a
large batch came in, and it was, quote, 100 percent for Biden. And that is criminal. You know, that’s criminal. Okay.
That’s another criminal, that’s another of the many criminal events, many criminal events here.

I don’t know, look, Brad. I got to get . . . I have to find 12,000 votes, and I have them times a lot. And therefore, I won
the state. That’s before we go to the next step, which is in the process of right now. You know, and I watched you this
morning, and you said, well, there was no criminality.

But I mean all of this stuff is very dangerous stuff. When you talk about no criminality, I think it’s very dangerous for
you to say that.




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I just, I just don’t know why you don’t want to have the votes counted as they are. Like even you when you went and
did that check. And I was surprised because, you know . . . And we found a few thousand votes that were against me. I
was actually surprised because the way that check was done, all you’re doing, you know, recertifying existing votes and,
you know, and you were given votes and you just counted them up, and you still found 3,000 that were bad. So that
was sort of surprising that it came down to three or five, I don’t know. Still a lot of votes. But you have to go back to
check from past years with respect to signatures. And if you check with Fulton County, you’ll have hundreds of
thousands because they dumped ballots into Fulton County and the other county next to it.

So what are we going to do here, folks? I only need 11,000 votes. Fellas, I need 11,000 votes. Give me a break. You
know, we have that in spades already. Or we can keep it going, but that’s not fair to the voters of Georgia because
they’re going to see what happened, and they’re going to see what happened. I mean, I’ll, I’ll take on anybody you want
with regard to [name] and her lovely daughter, a very lovely young lady, I’m sure. But, but [name] . . . I will take on
anybody you want. And the minimum, there were 18,000 ballots, but they used them three times. So that’s, you know,
a lot of votes. And they were all to Biden, by the way, that’s the other thing we didn’t say. You know, [name] , the one
thing I forgot to say, which was the most important. You know that every single ballot she did went to Biden. You know
that, right? Do you know that, by the way, Brad?

Every single ballot that she did through the machines at early, early in the morning went to Biden. Did you know that,
Ryan?

Germany: That’s not accurate, Mr. President.

Trump: Huh. What is accurate?

Germany: The numbers that we are showing are accurate.

Trump: No, about [name] . About early in the morning, Ryan. Where the woman took, you know, when the whole
gang took the stuff from under the table, right? Do you know, do you know who those ballots, do you know who they
were made out to, do you know who they were voting for?

Germany: No, not specifically.

Trump: Did you ever check?

Germany: We did what I described to you earlier —

Trump: No no no — did you ever check the ballots that were scanned by [name] , a known political operative,
balloteer? Did ever check who those votes were for?

Germany: We looked into that situation that you described.

Trump: No, they were 100 percent for Biden. 100 percent. There wasn’t a Trump vote in the whole group. Why don’t
you want to find this, Ryan? What’s wrong with you? I heard your lawyer is very difficult, actually, but I’m sure you’re a
good lawyer. You have a nice last name.




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But, but I’m just curious, why wouldn’t, why do you keep fighting this thing? It just doesn’t make sense. We’re way over
the 17,779, right? We’re way over that number, and just if you took just [name] , we’re over that number by five, five or
six times when you multiply that times three.

And every single ballot went to Biden, and you didn’t know that, but now you know it. So tell me, Brad, what are we
going to do? We won the election, and it’s not fair to take it away from us like this. And it’s going to be very costly in
many ways. And I think you have to say that you’re going to reexamine it, and you can reexamine it, but reexamine it
with people that want to find answers, not people that don’t want to find answers. For instance, I’m hearing Ryan that
he’s probably, I’m sure a great lawyer and everything, but he’s making statements about those ballots that he doesn’t
know. But he’s making them with such — he did make them with surety. But now I think he’s less sure because the
answer is, they all went to Biden, and that alone wins us the election by a lot. You know, so.

Raffensperger: Mr. President, you have people that submit information, and we have our people that submit
information. And then it comes before the court, and the court then has to make a determination. We have to stand by
our numbers. We believe our numbers are right.

Trump: Why do you say that, though? I don’t know. I mean, sure, we can play this game with the courts, but why do
you say that? First of all, they don’t even assign us a judge. They don’t even assign us a judge. But why wouldn’t you . . .
Hey Brad, why wouldn’t you want to check out [name] ? And why wouldn’t you want to say, hey, if in fact, President
Trump is right about that, then he wins the state of Georgia, just that one incident alone without going through
hundreds of thousands of dropped ballots. You just say, you stick by, I mean I’ve been watching you, you know, you
don’t care about anything. “Your numbers are right.” But your numbers aren’t right. They’re really wrong, and they’re
really wrong, Brad. And I know this phone call is going nowhere other than, other than ultimately, you know — Look,
ultimately, I win, okay? Because you guys are so wrong. And you treated this. You treated the population of Georgia so
badly. You, between you and your governor, who is down at 21, he was down 21 points. And like a schmuck, I endorsed
him, and he got elected, but I will tell you, he is a disaster.

The people are so angry in Georgia, I can’t imagine he’s ever getting elected again, I’ll tell you that much right now. But
why wouldn’t you want to find the right answer, Brad, instead of keep saying that the numbers are right? ’Cause those
numbers are so wrong?

Mitchell: Mr. Secretary, Mr. President, one of the things that we have been, Alex can talk about this, we talked about
it, and I don’t know whether the information has been conveyed to your office, but I think what the president is saying,
and what we’ve been trying to do is to say, look, the court is not acting on our petition. They haven’t even assigned a
judge. But the people of Georgia and the people of America have a right to know the answers. And you have data and
records that we don’t have access to.




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And you can keep telling us and making public statement that you investigated this and nothing to see here. But we
don’t know about that. All we know is what you tell us. What I don’t understand is why wouldn’t it be in everyone’s best
interest to try to get to the bottom, compare the numbers, you know, if you say, because . . . to try to be able to get to
the truth because we don’t have any way of confirming what you’re telling us. You tell us that you had an investigation
at the State Farm Arena. I don’t have any report. I’ve never seen a report of investigation. I don’t know that is. I’ve been
pretty involved in this, and I don’t know. And that’s just one of 25 categories. And it doesn’t even. And as I, as the
president said, we haven’t even gotten into the Dominion issue. That’s not part of our case. It’s not part of, we just
didn’t feel as though we had any to be able to develop —

Trump: No, we do have a way, but I don’t want to get into it. We found a way . . . excuse me, but we don’t need it
because we’re only down 11,000 votes, so we don’t even need it. I personally think they’re corrupt as hell. But we don’t
need that. All we have to do, Cleta, is find 11,000-plus votes. So we don’t need that. I’m not looking to shake up the
whole world. We won Georgia easily. We won it by hundreds of thousands of votes. But if you go by basic, simple
numbers, we won it easily, easily. So we’re not giving Dominion a pass on the record. We don’t need Dominion because
we have so many other votes that we don’t need to prove it any more than we already have.

Hilbert: Mr. President and Cleta, this is Kurt Hilbert, if I might interject for a moment. Ryan, I would like to suggest
that just four categories that have already been mentioned by the president that have actually hard numbers of 24,149
votes that were counted illegally. That in and of itself is sufficient to change the results or place the outcome in doubt.
We would like to sit down with your office, and we can do it through purposes of compromise and just like this phone
call, just to deal with that limited category of votes. And if you are able to establish that our numbers are not accurate,
then fine. However, we believe that they are accurate. We’ve had now three to four separate experts looking at these
numbers.

Trump: Certified accountants looked at them.

Hilbert: Correct. And this is just based on USPS data and your own secretary of state data. So that’s what we would
entreat and ask you to do, to sit down with us in a compromise and settlements proceeding and actually go through the
registered voter IDs and the registrations. And if you can convince us that 24,149 is inaccurate, then fine. But we tend
to believe that is, you know, obviously more than 11,779. That’s sufficient to change the results entirely in and of itself.
So what would you say to that, Mr. Germany?

Germany: I’m happy to get with our lawyers, and we’ll set that up. That number is not accurate. And I think we can
show you, for all the ones we’ve looked at, why it’s not. And so if that would be helpful, I’m happy to get with our
lawyers and set that up with you guys.

Trump: Well, let me ask you, Kurt, you think that is an accurate number. That was based on the information given to
you by the secretary of state’s department, right?

Hilbert: That is correct. That information is the minimum, most conservative data based upon the USPS data and the
secretary of state’s office data that has been made publicly available. We do not have the internal numbers from the
secretary of state. Yet we have asked for it six times. I sent a letter over to . . . several times requesting this information,
and it’s been rebuffed every single time. So it stands to reason that if the information is not forthcoming, there’s
something to hide. That’s the problem that we have.
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Germany: Well, that’s not the case, sir. There are things that you guys are entitled to get. And there’s things that
under law, we are not allowed to give out.

Trump: Well, you have to. Well, under law, you’re not allowed to give faulty election results, okay? You’re not allowed
to do that. And that’s what you done. This is a faulty election result. And honestly, this should go very fast. You should
meet tomorrow because you have a big election coming up, and because of what you’ve done to the president — you
know, the people of Georgia know that this was a scam — and because of what you’ve done to the president, a lot of
people aren’t going out to vote. And a lot of Republicans are going to vote negative because they hate what you did to
the president. Okay? They hate it. And they’re going to vote. And you would be respected. Really respected, if this thing
could be straightened out before the election. You have a big election coming up on Tuesday. And I think that it is
really is important that you meet tomorrow and work out on these numbers. Because I know, Brad, that if you think
we’re right, I think you’re going to say, and I’m not looking to blame anybody, I’m just saying, you know, and, you
know, under new counts, and under new views, of the election results, we won the election. You know? It’s very simple.
We won the election. As the governors of major states and the surrounding states said, there is no way you lost
Georgia. As the Georgia politicians say, there is no way you lost Georgia. Nobody. Everyone knows I won it by
hundreds of thousands of votes. But I’ll tell you it’s going to have a big impact on Tuesday if you guys don’t get this
thing straightened out fast.

Meadows: Mr. President, this is Mark. It sounds like we’ve got two different sides agreeing that we can look at those
areas, and I assume that we can do that within the next 24 to 48 hours, to go ahead and get that reconciled so that we
can look at the two claims and making sure that we get the access to the secretary of state’s data to either validate or
invalidate the claims that have been made. Is that correct?

Germany: No, that’s not what I said. I’m happy to have our lawyers sit down with Kurt and the lawyers on that side
and explain to him, hey, here’s, based on what we’ve looked at so far, here’s how we know this is wrong, this is wrong,
this is wrong, this is wrong, this is wrong.

Meadows: So what you’re saying, Ryan, let me let me make sure . . . so what you’re saying is you really don’t want to
give access to the data. You just want to make another case on why the lawsuit is wrong?

Germany: I don’t think we can give access to data that’s protected by law. But we can sit down with them and say —

Trump: But you’re allowed to have a phony election? You’re allowed to have a phony election, right?

Germany: No, sir.

Trump: When are you going to do signature counts, when are you going to do signature verification on Fulton County,
which you said you were going to do, and now all of a sudden, you’re not doing it. When are you doing that?

Germany: We are going to do that. We’ve announced —

Hilbert: To get to this issue of the personal information and privacy issue, is it possible that the secretary of state
could deputize the lawyers for the president so that we could access that information and private information without
you having any kind of violation?


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Trump: Well, I don’t want to know who it is. You guys can do it very confidentially. You can sign a confidentiality
agreement. That’s okay. I don’t need to know names. But on this stuff that we’re talking about, we got all that
information from the secretary of state.

Meadows: Yeah. So let me let me recommend, Ryan, if you and Kurt will get together, you know, when we get off of
this phone call, if you could get together and work out a plan to address some of what we’ve got with your attorneys
where we can we can actually look at the data. For example, Mr. Secretary, I can you say they were only two dead
people who would vote. I can promise you there are more than that. And that may be what your investigation shows,
but I can promise you there are more than that. But at the same time, I think it’s important that we go ahead and move
expeditiously to try to do this and resolve it as quickly as we possibly can. And if that’s the good next step. Hopefully we
can, we can finish this phone call and go ahead and agree that the two of you will get together immediately.

Trump: Well, why don’t my lawyers show you where you got the information. It will show the secretary of state, and
you don’t even have to look at any names. We don’t want names. We don’t care. But we got that information from you.
And Stacey Abrams is laughing about you. She’s going around saying these guys are dumber than a rock. What she’s
done to this party is unbelievable, I tell you. And I only ran against her once. And that was with a guy named Brian
Kemp, and I beat her. And if I didn’t run, Brian wouldn’t have had even a shot, either in the general or in the primary.
He was dead, dead as a doornail. He never thought he had a shot at either one of them. What a schmuck I was. But
that’s the way it is. That’s the way it is. I would like you . . . for the attorneys . . . I’d like you to perhaps meet with Ryan,
ideally tomorrow, because I think we should come to a resolution of this before the election. Otherwise you’re going to
have people just not voting. They don’t want to vote. They hate the state, they hate the governor, and they hate the
secretary of state. I will tell you that right now. The only people that like you are people that will never vote for you.
You know that, Brad, right? They like you, you know, they like you. They can’t believe what they found. They want
more people like you. So, look, can you get together tomorrow? And, Brad, we just want the truth. It’s simple.

And everyone’s going to look very good if the truth comes out. It’s okay. It takes a little while, but let the truth come
out. And the real truth is, I won by 400,000 votes. At least. That’s the real truth. But we don’t need 400,000 votes. We
need less than 2,000 votes. And are you guys able to meet tomorrow, Ryan?

Germany: I’ll get with Chris, the lawyer who’s representing us in the case, and see when he can get together with
Kurt.

Raffensperger: Ryan will be in touch with the other attorney on this call, Mr. Meadows. Thank you, President
Trump, for your time.

Trump: Okay, thank you, Brad. Thank you, Ryan. Thank you. Thank you, everybody. Thank you very much. Bye.




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